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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
__________________________________________

JERAMIE WHITE,

                              Plaintiff,
                                                             5:18-CV-1471
v.                                                           (GTS/DEP)

SYRACUSE POLICE DEPARTMENT;
ABRAHAM MAMOUN, Syracuse Police Dept.;
WILLIAM KITTLE, Syracuse Police Dept.;
SHAWN HAUCK, Syracuse Police Dept.;
ALTIMONDA, Syracuse Police Dept.; and
FIORINI, Syracuse Police Dept.,

                        Defendants.
__________________________________________

APPEARANCES:

JERAMIE WHITE, 18-B-0311
  Plaintiff, Pro Se
Cayuga Correctional Facility
P.O. Box 1186
Moravia, New York 13118

GLENN T. SUDDABY, Chief United States District Judge

                                    DECISION and ORDER

       Currently before the Court, in this pro se civil rights action filed by Jeramie White

(“Plaintiff”) against the Syracuse Police Department and five of its employees (“Defendants”), is

United States Magistrate Judge David E. Peebles’ Report-Recommendation recommending that

(1) Plaintiff’s Complaint be accepted for filing by the Court with respect to Plaintiff’s Fourth

Amendment cause of action against Defendants Mamoun, Kittle, Hauck, Altimonda and Fiorini,

and (2) Plaintiff’s remaining cause of action against the Syracuse Police Department be

dismissed with leave to replead within thirty days of the issuance of an Order adopting the

Report-Recommendation. (Dkt. No. 9.) Plaintiff did not submit an objection to the Report-
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Recommendation, and the deadline by which to do so has expired. (See generally Docket

Sheet.)1

       Based upon a review of this matter, the Court can find no clear error in the Report-

Recommendation:2 Magistrate Judge Peebles employed the proper standards, accurately recited

the facts, and reasonably applied the law to those facts. As a result, the Court accepts and adopts

the Report-Recommendation for the reasons stated therein; Plaintiff’s Complaint is accepted for

filing with respect to his Fourth Amendment cause of action against Defendants Mamoun, Kittle,

Hauck, Altimonda and Fiorini; and Plaintiff’s remaining cause of action against the Syracuse

Police Department is dismissed with leave to replead within thirty days of the issuance of this

Decision and Order.

       ACCORDINGLY, it is

       ORDERED that Magistrate Judge Peebles’ Report-Recommendation (Dkt. No. 9) is

ACCEPTED and ADOPTED in its entirety; and it is further




       1
               The Court notes that, on January 11, 2019, Plaintiff filed a letter from the City of
Syracuse Citizen Review Board dated December 31, 2018, outlining its findings with respect to
this matter. (Dkt. No. 10.) In its letter, the Citizen Review Board upheld Plaintiff’s claim for
excessive force against “Det. One,” recommended a written reprimand against that individual,
and absolved “Det. Two,” “Sgt. One,” and “Lt. One” from wrongdoing regarding the use of
excessive force. (Id.) The Court does not liberally construe this letter as any sort of Objection to
the Report-Recommendation.
       2
                 When no objection is made to a report-recommendation, the Court subjects that
report-recommendation to only a clear error review. Fed. R. Civ. P. 72(b), Advisory Committee
Notes: 1983 Addition. When performing such a “clear error” review, “the court need only
satisfy itself that there is no clear error on the face of the record in order to accept the
recommendation.” Id.; see also Batista v. Walker, 94-CV-2826, 1995 WL 453299, at *1
(S.D.N.Y. July 31, 1995) (Sotomayor, J.) (“I am permitted to adopt those sections of [a
magistrate judge’s] report to which no specific objection is made, so long as those sections are
not facially erroneous.”) (internal quotation marks omitted).

                                                 2
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          ORDERED that Plaintiff’s Complaint is accepted for filing with respect to Plaintiff’s

Fourth Amendment cause of action against Defendants Mamoun, Kittle, Hauck, Altimonda and

Fiorini; and it is further

          ORDERED that Plaintiff’s remaining cause of action against the Syracuse Police

Department is DISMISSED with leave to replead within THIRTY (30) DAYS of the issuance

of this Decision and Order.

          ORDERED that, in the event Plaintiff files an Amended Complaint within the above-

referenced thirty-day period, it shall be referred to Magistrate Judge Peebles for review; and it is

further

          ORDERED that, in the event Plaintiff does not file an Amended Complaint within the

above-referenced thirty-day period, this action shall move forward with respect to his Fourth

Amendment cause of action against Defendants Mamoun, Kittle, Hauck, Altimonda and Fiorini,

and the Clerk of the Court is directed to issue summonses and USM-285 forms at that time for

service by the U.S. Marshal Service.

Dated: February 28, 2019
       Syracuse, New York

                                               ____________________________________
                                               Hon. Glenn T. Suddaby
                                               Chief U.S. District Judge




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